                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:19-CR-00328-RJC-DSC
USA                                          )
                                             )
    v.                                       )              ORDER
                                             )
CLETISE HAMMONDS                             )
                                             )

         THIS MATTER is before the Court on the government’s Motion for Final

Determination of Restitution, (Doc. No. 30), to which the defendant does not object.

         At the sentencing of this matter, the Court held that final determination of

restitution would be left open as authorized by 18 U.S.C. § 3664(d)(5). (Doc. No. 28:

Judgment at 4). The government now seeks imposition of the amount detailed in its

Sentencing Memorandum, (Doc. No. 21 at 7), of $253,391 for the 26 U.S.C. § 7206(2)

charges and $76,177 for Hammonds’ individual income tax returns for tax year 2013

and 2015, for a total of $329,548 owed to the Internal Revenue Service. The

defendant does not object to that amount, which is supported by a preponderance of

the evidence and constitutes a “final determination” for purposes of ordering

restitution pursuant to the Mandatory Victim Restitution Act, 18 U.S.C. § 3663A.

         IT IS THEREFORE ORDERED that, based on the reasons set forth in the

government’s motion, 18 U.S.C. § 3664(d)(5), and the Mandatory Victim Restitution

Act, the Judgment in this case, (Doc. No. 28), shall be amended to include a final

restitution figure of $329,548, broken out as $253,391 for the § 7206(2) charges and




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$76,177 for Hammonds’ individual income tax returns for tax year 2013 and 2015.

All other terms of the original Judgment, (Doc. No. 28), remain unchanged.

       The Clerk is directed to certify copies of this order to Defendant, counsel for

Defendant, the United States Attorney, the United States Marshals Service, the

United States Probation Office, and the Financial Administration Unit of the

Clerk’s Office.

 Signed: September 25, 2020




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